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                             ORAL ARGUMENT ACKNOWLEDGMENT FORM
      U.S. COURT OF APPEALS FOR THE FIFTH CIRCUIT, 600 S. Maestri Place, New Orleans, LA 70130
                                        (504) 310-7700



I, Samuel A. Schwartz
                                                             (Full Name)

  as DUJXLQJ counsel, acknowledge receiving notice that the below case has been scheduled for
  oralargument with the 8QLWHG6WDWHV&RXrt of AppealsIRUWKH)LIWK&LUFXLW


  22-10575                     NexPoint Advisors                                  v. Pachulski Stang Ziehl & Jones, et al.
     (Case Number)                                                           (Short Title)

  is scheduled for oral argument at                9:00 am        on         Monday, May, 01, 2023                    located in the
                                                    (Time)                                   (Date)

  NEW ORLEANS - U.S. Court of Appeals for the Fifth Circuit, 600 Camp Street, New Orleans, LA, 70130
                                                              (Location)



   /s/ Samuel A. Schwartz                                                                             Monday, April, 10, 2023
                                     (Signature)                                                                (Date)



                    List all parties being represented for argument and select the party type
  NexPoint Advisors, L.P.




        ■

   Appellant          Appellee            Cross Appellant                  Cross Appellee              Amicus            Intervenor
      According to this court's rules, a cross or separate appeal will be argued with the initial appeal during the same argument,
      unless the court directs otherwise. If a case involves a cross appeal, the party who first files a notice of appeal is
      considered the appellant unless the parties otherwise agree or the court directs otherwise. If separate appellants support
      the same argument, they are to avoid duplication of argument.
      THE ORDER OF PRESENTATION & DIVISION OF ORAL ARGUMENT TIME WILL BE AS FOLLOWS:
                             (Counsel Name)                                  (Time in Minutes)            (Rebuttal Time)*
       #1   Samuel A. Schwartz                                                      15                            5
       #2
       #3
       #4
       #5


                 *Rebuttal time for appellants only. The court prefers no more than 5 minutes for rebuttal.




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